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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ALETA RENEE CHAPMAN,                          §
                                               §
                                               §
               Plaintiff,                      §
                                               §
 vs.                                           §
                                               §
 NEWREZ, LLC, f/k/a New Penn                   §          Case No. 4:21-cv-03711
 Financial, LLC d/b/a Shellpoint Mortgage      §
 Servicing; U.S. BANK TRUST,                   §
 NATIONAL ASSOCIATION, solely as               §
 Owner Trustee for RCF 2 Acquisition           §
 Trust; BANK OF AMERICA, N.A.,                 §
 successor in interest to Countrywide          §
 Bank, a division of Treasury Bank, N.A.;      §
 SELENE FINANCE, and UNKNOWN                   §
 PARTIES IN INTEREST 1-10,                     §
                                               §
               Defendants.                     §


         THE SELENE DEFENDANTS' UNOPPOSED MOTION TO CONTINUE


        COME NOW Defendants U.S. Bank Trust National Association, Solely as Owner Trustee

for RCF 2 Acquisition Trust ("Trustee") and Selene Finance LP ("Selene") (Trustee and Selene

are collectively, the "Selene Defendants") and hereby file this Unopposed Motion to Continue.

The Selene Defendants respectfully show the Court as follows:

                                        I.
                             MOTION FOR CONTINUANCE

        1.    On July 29, 2022, Plaintiff filed her First Amended Petition for Damages and

Demand for Jury Trial ("Amended Complaint") (Doc. 33).

        2.    The Amended Complaint joined the Selene Defendants and Bank of America, N.A.

("Bank of America").



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       3.     This Court entered its Amended Scheduling Order on August 5, 2022. (Doc. 35).

       4.     The Amended Scheduling Order set the following deadlines:

                   Date                               Current Deadline
                  9/22/22      Defendant, or party without the burden of proof, will designate
                               expert witnesses in writing, listing the qualifications of each
                               expert, the opinions the expert will present, and the bases for the
                               opinions as required under Federal Rule of Civil Procedure
                               26(A)(2). ("Defendants' Experts Deadline")

                  11/1/22      DISCOVERY Counsel may, by agreement continue discovery
                               beyond the deadline. No continuance will be granted because of
                               information acquired in post-deadline discovery ("Discovery
                               Deadline")

                  11/15/22     MOTIONS DEADLINE Including any motion challenging an
                               expert witness (only motions in limine on issues other than
                               experts may be filed after this date). The motion deadline may
                               not be changed by agreement. ("Motion Deadline")

                  3/13/23      TRIAL is set at 9:00 a.m. in Courtroom 8C. Case is subject to
                               being called to trial on short notice during the two-week period
                               beginning on this date. ("Trial Date")


       5.     Given the Selene Defendants were only added as a party on July 29, 2022, the

Selene Defendants hereby request a continuance of Defendants' Experts Deadline, the Discovery

Deadline, the Motion Deadline, and the Trial Date. The Selene Defendants respectfully request a

continuance of the Trial Date to August 14, 2023.


       6.     The Selene Defendants further respectfully request the Court extend Defendants'

Expert Deadline, the Discovery Deadline, and the Motion Deadline as follows:


                     February 21, 2023 – Defendants' Experts Deadline

                     April 7, 2023 – Discovery Deadline

                     April 21, 2023 – Motion Deadline




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        7.      On September 30, 2022, an associate of the undersigned counsel's office conferred

with Plaintiff Aleta Chapman ("Ms. Chapman"). Ms. Chapman indicated she is unopposed to the

relief sought in this motion.


        8.      An associate of the undersigned counsel's office also conferred with counsel for

Bank of America and NewRez, LLC, f/k/a New Penn Financial, LLC d/b/a Shellpoint Mortgage

Servicing ("NewRez"). Both counsel for Bank of America and NewRez indicated they are

unopposed to the relief sought in this motion.


        9.      This extension is not sought for purposes of delay, but so that justice may be served.

                                               II.
                                           CONCLUSION

        WHEREFORE, PREMISES CONSIDERED, the Selene Defendants pray that the Court

grant this motion, continue the Trial Date to August 14, 2023, and continue Defendants' Expert

Deadline to February 21, 2023, the Discovery Deadline to April 7, 2023, and the Motion Deadline

to April 21, 2023. The Selene Defendants further request that the Court grant them any and all

further relief to which they are justly entitled.




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                                             Respectfully submitted,


                                             /s/ Jason L. Sanders
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                                             COUNSEL FOR THE
                                             SELENE DEFENDANTS


                              CERTIFICATE OF CONFERENCE

        On September 30, 2022, an associate of the undersigned counsel's office conferred with
Plaintiff via telephone. Plaintiff indicated she is unopposed to the relief sought in this motion.


      An associate of the undersigned counsel's office conferred with counsel for Bank of
America via email and counsel for NewRez by telephone. Both counsel for Bank of America and
NewRez indicated they are unopposed to the relief sought in this motion.


                                             /s/ Jason L. Sanders
                                             Counsel for the Selene Defendants




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document
was served upon Plaintiff via U.S. Mail and Certified Mail, Return Receipt Requested and upon
other counsel of record via the Court's CM/ECF system pursuant to the Federal Rules of Civil
Procedure on this 4th day of October, 2022.


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                                            /s/ Jason L. Sanders
                                            Counsel for the Selene Defendants




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